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                                   EXHIBIT D
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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-02
SIZE:                                 2 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-05
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000

GENERIC
      BUMETANIDE
        NAME:

NDC/HRI/UPC:                          55390-0501-10
SIZE:                                 10 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-02
SIZE:                                 2 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-05
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC/HRI/UPC:                          55390-0501-10
SIZE:                                 10 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-02
SIZE:                                 2 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC/HRI/UPC:                          55390-0501-05
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC/HRI/UPC:                          55390-0501-10
SIZE:                                 10 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: July, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:                      2 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:                      10 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:                      2 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:                      10 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-02
SIZE:                      2 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   16.20                    0.8100           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         BUMETANIDE

NDC:                55390-0501-05
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   27.00                    0.6750           5/1/1999
DIR
HCFA



PRODUCT:                              BUMETANIDE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             0.25 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (M.D.V.)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      BUMETANIDE
        NAME:

NDC:                55390-0501-10
SIZE:                      10 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   76.80                    0.7680           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0808-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0809-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000

GENERIC
      CYTARABINE
        NAME:

NDC/HRI/UPC:                          55390-0806-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0807-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0808-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0809-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001

GENERIC
      CYTARABINE
        NAME:

NDC/HRI/UPC:                          55390-0806-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0807-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0808-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0809-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001

GENERIC
      CYTARABINE
        NAME:

NDC/HRI/UPC:                          55390-0806-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC/HRI/UPC:                          55390-0807-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
DIR
HCFA




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Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: July, 2001

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
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HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             1 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0808-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   50.00                   50.0000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             2 GM
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0809-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   98.90                   98.9000           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      CYTARABINE
        NAME:

NDC:                55390-0806-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   62.50                    6.2500           5/1/1999
DIR
HCFA



PRODUCT:                              CYTARABINE NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             500 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         CYTARABINE

NDC:                55390-0807-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 250.00                    25.0000           5/1/1999
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HCFA




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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0142-10
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  Y
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0805-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
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HCFA




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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 INJECTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0142-10
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  Y
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0805-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
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HCFA




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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0805-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC/HRI/UPC:                          55390-0142-10
SIZE:                                 4 ml 10s
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  Y
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
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HCFA




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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                   168.5000           5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
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HCFA




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Red Book(TM) for Windows®                                                                         Release: January, 2002


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
DIR
HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             20 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0805-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                1685.00                  168.5000            5/1/1999
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HCFA



PRODUCT:                              DAUNORUBICIN HCL NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             5 MG/ML
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V., P.F.)
GENERIC NAME:                         DAUNORUBICIN HYDROCHLORIDE

NDC:                55390-0142-10
SIZE:                      4 ml 10s
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       Y
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                1685.00                    42.1250           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2000


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0818-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
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HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0824-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: JANUARY, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0818-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
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HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR INJECTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0824-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: APRIL, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0818-10
SIZE:                                 10s ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
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HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INTRAVENOUS
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC/HRI/UPC:                          55390-0824-01
SIZE:                                 ea
DEA Class:                            RX
UNIT DOSE (Y/N):                      N
SINGLE SOURCE (Y/N):                  N
REPACKAGER (Y/N):                     N
GENERIC (Y/N):                        Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: July, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
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PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

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AWP                                   78.00                   78.0000           5/1/1999
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Red Book(TM) for Windows®                                                                         Release: OCTOBER, 2001


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                  350.00                   35.0000           5/1/1999
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PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
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Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
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HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
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HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             350 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)

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Red Book(TM) for Windows®                                                                         Release: January, 2002

GENERIC
      LEUCOVORIN
        NAME:    CALCIUM

NDC:                55390-0825-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                 137.95                  137.9500           10/1/2001
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PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             10 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0826-01
SIZE:                      50 ml
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 195.00                     3.9000          10/1/2001
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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002


Detailed Product Information
PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             100 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0818-10
SIZE:                      10s ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 350.00                    35.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             200 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (VIAL)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0824-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                       PKG                       UNIT          EFF. DATE
AWP                                   78.00                   78.0000           5/1/1999
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 POWDER FOR SOLUTION
STRENGTH:                             350 MG
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)

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Red Book(TM) for Windows®                                                                         Release: APRIL, 2002

GENERIC
      LEUCOVORIN
        NAME:    CALCIUM

NDC:                55390-0825-01
SIZE:                      ea
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                       UNIT           EFF. DATE
AWP                                 137.95                  137.9500           10/1/2001
DIR
HCFA



PRODUCT:                              LEUCOVORIN CALCIUM NOVAPLUS
MANUFACTURER:                         Bedford
FORM:                                 SOLUTION
STRENGTH:                             10 MG/ML
ROUTE OF ADMIN:                       INJECTION
ORANGE BOOK CODE:                     AP
ADD'L DESC:                           (S.D.V.,P.F.)
GENERIC NAME:                         LEUCOVORIN CALCIUM

NDC:                55390-0826-01
SIZE:                      50 ml
DEA Class:                 RX
UNIT DOSE (Y/N):           N
SINGLE SOURCE (Y/N):       N
REPACKAGER (Y/N):          N
GENERIC (Y/N):             Y

Current Pricing Information

                                      PKG                        UNIT          EFF. DATE
AWP                                 195.00                     3.9000          10/1/2001
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